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                              EXHIBIT 14
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                                UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF NEW YORK


                                                               No. 21-md-3010 (PKC)
   IN RE GOOGLE DIGITAL ADVERTISING
   ANTITRUST LITIGATION




  This document relates to:

   THE STATE OF TEXAS, et al.,

                                 Plaintiffs,

       -    against -                                          No. 21-CV-6841 (PKC)

   GOOGLE LLC,

                                 Defendant.


                          PLAINTIFF STATES’ INITIAL DISCLOSURES

           The States of Texas, Alaska, Arkansas, Florida, Idaho, Indiana, Louisiana, Mississippi,

  Missouri, Montana, Nevada, North Dakota, South Carolina, South Dakota, and Utah, and the

  Commonwealths of Kentucky and Puerto Rico (collectively referred to hereafter as “Plaintiff States”

  or “States”), hereby make the following initial disclosures under Federal Rule of Civil Procedure

  26(a)(1) and Pre-Trial Order No. 5 (Doc. 394 in 21-md-3010). These disclosures are based on

  information currently available to the Plaintiff States and represent their good-faith efforts to identify:

  (1) persons likely to have discoverable information that may be used to support the Plaintiff States’

  claims in this action, and (2) documents and electronically stored information that may be used to

  support the Plaintiff States’ claims in this action.
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         The Plaintiff States reserve the right to supplement and correct these disclosures as discovery

  proceeds under Federal Rule of Civil Procedure 26(e) and Pre-Trial Order No. 5. These disclosures

  are not intended to waive any objections that the Plaintiff States may have regarding the use or

  admissibility of any disclosed information, whether during discovery or trial, and these disclosures

  do not constitute a waiver of attorney–client privilege, attorney work product protection, or any other

  applicable privilege or protection.

         Pursuant to Rule 26(a)(1)(A)(i), Appendix A identifies those entities and related individuals

  known to the Plaintiff States at this time who likely have discoverable information that the Plaintiff

  States may use to support their claims.

         Pursuant to Rule 26(a)(1)(A)(ii) and without waiving any objections to relevance, privilege,

  or admissibility of these materials or agreeing that they are required to be disclosed, the Plaintiff

  States possess the following materials that they may use to support their claims: documents and data

  submitted to the Plaintiff States by Google and third parties, including responses to Civil

  Investigative Demands. These materials are located or available at the offices of the respective

  Plaintiff States. The Plaintiff States may also use: (i) publicly available documents or data, and (ii)

  documents and information produced by Google and third parties in this litigation to support their

  claims or defenses.

         Pursuant to Rule 26(a)(1)(A)(iii), the Plaintiff States state that it is premature for the States

  to provide a computation of damages at this time, as the States’ computation of damages (and civil

  penalties) is highly dependent on information to be obtained from discovery during the course of this

  action and is not available at this time. The Plaintiff States will provide expert disclosure(s) and

  written report(s) related to the computation of damages as required by Rule 26(a)(2) in accordance

  with Pre-Trial Order No. 5.


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         The Plaintiff States do not have insurance agreements relevant to this matter and therefore

  have no disclosures under Rule 26(a)(1)(A)(iv).

         The Plaintiff States additionally provide the following information:

         1. The correct names of the parties to the action.

         The Plaintiff States include the States of Texas, Alaska, Arkansas, Florida, Idaho, Indiana,

  Louisiana, Mississippi, Missouri, Montana, Nevada, North Dakota, South Carolina, South Dakota,

  and Utah, and the Commonwealths of Kentucky and Puerto Rico.

         The only Defendant is Google LLC.

         2. The name and, if known, address and telephone number of any potential parties to

             the action.

         The Plaintiff States do not anticipate any potential additional parties, although other

  government enforcement agencies may seek to join or intervene in this matter.

         3. The name, and if known, the address and telephone number of persons having

             knowledge of facts relevant to the claim or defense of any party, a brief

             characterization of their connection to the case, and a fair summary of the substance

             of the information known by such person.

         See Appendix A.

         4. A copy of all documents, ESI, witness statements, and tangible things in the

             possession, custody, or control of the disclosing party that are relevant to the claim

             or defense of any party.

         Beginning on April 22, 2021, the Plaintiff States sent Defendant or caused to be sent to

  Defendant a copy of all documents, ESI, witness statements, and tangible things in their possession,

  custody, or control that are relevant to their claims.


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  Dated: January 13, 2023

                                                     Respectfully submitted,


   /s/ Ashley Keller                                   /s/ W. Mark Lanier
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   KELLER POSTMAN LLC


    Counsel for Texas, Idaho, Indiana, Louisiana (The Lanier Law Firm only), Mississippi, North
           Dakota, South Carolina, and South Dakota, and On behalf of all Plaintiff States




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                                                 APPENDIX A

        A. Individuals who likely have discoverable information that the Plaintiffs may use to

           support their claims or defenses.

        Below is a list of individuals and entities who the Plaintiff States, at this time, believe are likely

  to have discoverable information that the Plaintiff States may use to support their claims or defenses.

  Other individuals and entities not named below—including other Google customers, competitors,

  and employees—may also have discoverable information, and the Plaintiff States reserve the right

  to supplement this list as discovery proceeds.

   1.         Name:                        Employees of AdButler, including
                                                        (Founder)
              Counsel/Contact:
              Subject(s):                  Relevant product markets at issue in the Complaint,
                                           including the ad server market; competition and barriers to
                                           entry in the relevant markets; Google’s exclusionary conduct;
                                           and the anticompetitive effects arising from that conduct



   2.          Name:                       Employees of Adobe, including
                                                        (Head of Product, Adobe Advertising)
               Address:                    345 Park Avenue San
                                           Jose, CA 95110 USA

               Counsel/Contact:            c/o Michael Van Arsdall
               Telephone Number:           (202) 912-5072
               Subject(s):                 Relevant product markets at issue in the Complaint,
                                           including the ad buying tool market; competition and
                                           barriers to entry in the relevant markets; Google’s
                                           exclusionary conduct; and the anticompetitive effects arising
                                           from that conduct

   3.          Name:                       Employees of Altice, including
                                                      (Chief Operating Officer, Altice USA News &
                                           Advertising)
               Address:                    1 Court Square West
                                           Long Island City, NY 11101
                                           USA


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          Subject(s):         Relevant product markets at issue in the Complaint,
                              including the ad buying tools market and the instream
                              online video advertising market; competition and barriers to
                              entry in the relevant markets; Google’s exclusionary
                              conduct; and the anticompetitive effects arising from that
                              conduct

   33.    Name:               Employees of Kranzler Kingsley Communications Ltd,
                              including
                                             (President)
          Address:            505 East Main Avenue Suite 250
                              Bismarck, ND, 58501
                              USA
          Counsel/Contact:
          Telephone Number:   (701)255-3067
          Subject(s):         Relevant product markets at issue in the Complaint,
                              including the ad buying tools market, the ad exchange
                              market, the ad network market, and the instream online
                              video advertising market; competition and barriers to entry
                              in the relevant markets; Google’s exclusionary conduct; and
                              the anticompetitive effects arising from that conduct

   34.    Name:               Employees of Liftable Media, including
                                              (President)
          Address:            41810 North Venture Drive
                              Anthem, AZ 85086 USA
          Counsel/Contact:    c/o William J. Olson
          Telephone Number:   703-356-5070
          Subject(s):         Relevant product markets at issue in the Complaint,
                              including the ad exchange market, the ad network market,
                              and the ad server market; competition and barriers to entry
                              in the relevant markets; Google’s exclusionary conduct; and
                              the anticompetitive effects arising from that conduct

   35.    Name:               Employees of Magnite f/k/a The Rubicon Project,
                              including
                                            (Chief Technology Officer)
          Address:            12181 Bluff Creek Drive
                              Playa Vista, CA 90094
                              USA
          Counsel/Contact:    c/o Jonathan Kanter
          Telephone Number:   (202) 455-4251



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   42.    Name:               Employees of News Media Alliance, including
                                    (Senior Vice President and General Counsel)

          Address:            4401 North Fairfax Drive, Suite 300
                              Arlington, VA 22203
                              USA
          Counsel/Contact:    c/o Jonathan Kanter
          Telephone Number:   (202) 455-4251
          Subject(s):         Relevant product markets at issue in the Complaint,
                              including the ad exchange market, the ad network market,
                              and the ad server market; competition and barriers to entry
                              in the relevant markets; Google’s exclusionary conduct; and
                              the anticompetitive effects arising from that conduct

   43.    Name:               Employees of News Media Association, including
                                           (Chief Executive)
          Address:            Second Floor
                              16 - 18 New Bridge Street
                              London
                              EC4V 6AG
                              UK
          Counsel/Contact:
          Telephone Number:   44 (0) 203 848 9620
          Subject(s):         Relevant product markets at issue in the Complaint,
                              including the ad exchange market, the ad network market,
                              and the ad server market; competition and barriers to entry
                              in the relevant markets; Google’s exclusionary conduct; and
                              the anticompetitive effects arising from that conduct

   44.    Name:               Employees of Nike, including
                                             (Director of Digital Marketing)
          Address:            One Bowerman Drive
                              Beaverton, OR 97005
                              USA
          Counsel/Contact:                    Senior Counsel
          Telephone Number:   (971) 473-1347
          Subject(s):         Relevant product markets at issue in the Complaint,
                              including the ad buying tools market and the instream
                              online video advertising market; competition and barriers to
                              entry in the relevant markets; Google’s exclusionary
                              conduct; and the anticompetitive effects arising from that
                              conduct


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   45.    Name:               Employees of Omnicom, including
                                          (COO), George Manas (President, CMO for North
                              America)
          Address:            437 Madison Avenue
                              New York, NY 10022
                              USA
          Counsel/Contact:    c/o Joshua H. Epstein
          Telephone Number:   (212) 468-4869
          Subject(s):         Relevant product markets at issue in the Complaint,
                              including the ad buying tools market and the instream
                              online video advertising market; competition and barriers to
                              entry in the relevant markets; Google’s exclusionary
                              conduct; and the anticompetitive effects arising from that
                              conduct

   46.    Name:               Employees of OpenX, including
                                         (President and Chief Executive Officer)
          Address:            888 East Walnut Street, 2nd Floor
                              Pasadena, CA 91101
                              USA
          Counsel/Contact:    c/o Jonathan Kanter
          Telephone Number:   (202) 455-4251
          Subject(s):         Relevant product markets at issue in the Complaint,
                              including the ad buying tools market, the ad exchange
                              market, and the ad server market; competition and barriers
                              to entry in the relevant markets; Google’s exclusionary
                              conduct; and the anticompetitive effects arising from that
                              conduct

   47.    Name:               Employees and Representatives of Oracle, including
                                          (Executive Vice President),           (Vice
                              President),                   (Director, State
                              Government Affairs),             (Senior Policy Advisor)
          Address:            500 Oracle Parkway Redwood
                              Shores, CA 94065 USA

          Counsel/Contact:                          Senior Managing Counsel
          Telephone Number:   (650) 506-9534
          Subject(s):         Relevant product markets at issue in the Complaint,
                              including the ad buying tools market and the instream
                              online video advertising market; competition and barriers to
                              entry in the relevant markets; Google’s exclusionary
                              conduct; and the anticompetitive effects arising from that
                              conduct

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